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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF KENTUCKY
                                   LOUISVILLE DIVISION

 UNITED STATES OF AMERICA,                                                               Plaintiff,

 v.                                                           Civil Action No. 3:18-cv-826-DJH

 CRYSTAL KAY PEYTON, et al,                                                           Defendants.

                                            * * * * *

  WARNING ORDER AND ORDER APPOINTING WARNING ORDER ATTORNEY


                                       WARNING ORDER

       A Warning Order is hereby issued to Defendant, Unknown Spouse of Crystal Kay Peyton,

notifying the defendant of this action; warning the defendant to appear and defend herein within

fifty (50) days from the date of this Order; and warning the defendant that failure to appear within

the time specified may result in judgment being entered against the defendant for the relief

requested in the complaint.


                    APPOINTMENT OF WARNING ORDER ATTORNEY

TO:    Jeffrey S. Moad                               , Warning Order Attorney
       Stites and Harbison PLLC
       400 West Market Street, Suite 1800
       Louisville, Kentucky 40202
       (502) 587-3400                                , Phone Number
       jmoad@stites.com                              , Email Address



       Pursuant to FRCP 4, CR 4.05, and CR 4.07, you are hereby appointed as Warning Order

Attorney for defendant, Unknown Spouse of Crystal Kay Peyton, whose last known address is 601

John Henry Road, Taylorsville, KY 40071.

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       A Warning Order has been issued this date to the defendant, notifying the defendant of this

action; warning the defendant to appear and defend herein within fifty (50) days from the date of

the Warning Order; and warning the defendant that failure to appear within the time specified may

result in judgment being entered against the defendant for the relief requested in the complaint.

       As Warning Order Attorney, you shall make diligent efforts to inform these defendants, by

mail, concerning the pendency and nature of this action against these defendants, and shall report

the result of your efforts to this Court within fifty (50) days from the date of entry of this Order.

Within ten (10) days thereafter, you shall file a motion for attorney fees and costs, with fees not to

exceed $500.

       If the Warning Order Attorney knows or learns that these defendants are of unsound mind

or under a legal disability, such information shall be included in the report filed herein, and upon

filing of such report, the Warning Order Attorney shall become the guardian ad litem for such

defendant.

       Further, the Warning Order Attorney’s Taxpayer Identification Number shall be supplied

to the United States Attorney’s Office to effectuate the electronic transfer of funds when authorized

by this Court.

        March 6, 2019




                                                          David J. Hale, Judge
                                                       United States District Court
cc:    A. George Mason, Jr.
       Jeff Moad
       Defendants




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